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                                91D01-2108-CT-000021                             Filed: 8/13/2021 5:15 PM
                                                                                                     Clerk
                                     White Superior Court                          White County, Indiana




STATE OF INDIANA             )                        IN THE WHITE SUPERIOR COURT
                             ) SS:
COUNTY OF WHITE              )                    SITTING IN _______________, INDIANA

GAIL LEWIS-HICKS,                         )
     Plaintiff,                           )
                                          )
vs.                                       )         CAUSE NO: 91D01-2108-CT-000021
                                          )
EVEREST NATIONAL INSURANCE                )
COMPANY, APEX PARKS GROUP,                )
LLC, and UNKNOWN OPERATOR,                )
      Defendants.                         )

           COMPLAINT FOR PERSONAL INJURY AND JURY DEMAND

      GAIL LEWIS-HICKS, (hereinafter “Gail”) by CUSTY LAW FIRM, LLC, for her

Complaint against the Defendants, EVEREST NATIONAL INSURANCE COMPANY

(hereinafter, “Everest”), APEX PARKS GROUP, LLC (hereinafter “Apex”), and

UNKNOWN OPERATOR (hereinafter “Operator”) alleges and states:

      1.     At all times relevant, Gail was a resident and citizen of Lake County,

Indiana.

      2.     Everest is a corporation organized under the laws of the State of Delaware

and doing business in Indiana. Everest is properly served at 100 Everest Way, Warren,

New Jersey, 07059.

      3.     Apex is a limited liability company organized under the laws of the State

of California and doing business in Indiana. Apex is properly served at 27061 Aliso

Creek Road, Suite 100, Aliso Viejo, California 92656.
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       4.      Operator is an unknown individual and believed Indiana resident acting

as the ride operator for the Sky Ride at Indiana Beach on August 17, 2019. At all times

relevant, Operator was an employee or agent of Apex, subject to its control and

direction, and acting within the scope of such employment or agency.

       5.      Apex owned, operated, managed, maintained, and controlled Indiana

Beach which was open to the public for amusement and recreational purposes. As part

of its business, Apex invited and encouraged the public to visit Indiana Beach to ride its

rides for profit.

       6.      At all times relevant, Apex had the authority to implement policies to

detect hazardous conditions or activities on the Premises, and through its agents and

employees, had the duty to either correct or warn others of hazardous conditions or

activities.

       7.      On August 17, 2019, Gail was an invitee of Indiana Beach in Monticello,

Indiana.

       8.      Apex, through its agents and employees, permitted Gail to enter Indiana

Beach and did not object to her entering and remaining there on August 17, 2019.

       9.      As Gail was attempting to board the Sky Ride at Indiana Beach, Operator

improperly shoved the bench seat and cage for the ride under her in a forceful manner.




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       10.    As a result, Gail was thrown forward and injured herself severely. Her

injuries were compounded when the bench seat and cage proceeded forward as the ride

progressed automatically, running over Gail and dragging over her.

       11.    Gail was first treated by the Indiana Beach’s emergency first aid office,

then went to the emergency department at Methodist Southlake Hospital.

       12.    Gail was initially treated for lower spine pain, sudden onset incontinence,

right knee pain, right elbow abrasion and pain, and right wrist pain and abrasion. Gail

also lost feeling in certain areas, foreshadowing neurological impacts from the trauma.

       13.    Gail had a CT scan just weeks prior to her traumatic injury from the

Indiana Beach ride. A follow-up CT scan in September, the month following her injury,

revealed that Gail had developed a brain aneurysm.

                                        COUNT I

               Breach of Contract / Claim for Insurance Benefits - Everest

       14.    Plaintiff incorporates herein by reference the allegations of Paragraphs 1

through 13 of this Complaint as if each were fully set forth herein in their entirety.

       15.    Apex was self-insured to $500,000 and carried surplus or excess insurance

through Everest above that limit.

       16.    Apex filed for bankruptcy in Delaware since Gail’s injuries at issue were

suffered.



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      17.    Plaintiff received leave from the Delaware bankruptcy court to pursue this

action for insurance proceeds provided by Everest or any other insurer of Apex.

      18.    Demand has been made upon Everest to compensate Gail for injuries

suffered.

      19.    Everest has thus far failed to pay insurance proceeds commensurate with

Gail’s reasonable demands pursuant to the insurance contract.

      20.    Gail, as an invitee of Indiana Beach, was an insured of Everest.

      21.    As a direct and proximate result of the dangerous and negligent acts or

omissions by Apex, Operator and other Apex agents and employees, Gail was severely

injured in a variety of ways compensable under Indiana Law.

      22.    Therefore, Everest has a contractual duty to fairly compensate Gail for the

damages sustained up to the applicable insurance policy limit.

      23.    Gail’s damages reasonably exceed the $500,000 self-insured limit for Apex

Parks Group, LLC and would require contribution for any additional harm from

Everest.

      24.    Therefore, Everest has a contractual duty to fairly compensate Gail for the

damages she has sustained up to the applicable insurance policy limit.

      25.    Everest breached this contract by failing to properly compensate Gail and

by failing to uphold the duty of good faith and fair dealing imposed on Everest by the

formation of an insurance contract.
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       WHEREFORE, Plaintiff, GAIL LEWIS-HICKS, seeks the entry of judgment in her

favor and against Defendant, EVEREST NATIONAL INSURANCE COMPANY for

compensatory damages in an amount to be determined herein, prejudgment interest,

for the cost of this action, and for any and all other relief that the Court and Jury may

deem proper under the circumstances.

                                        COUNT II

                                  Negligence - Operator

       26.    Plaintiff incorporates herein by reference the allegations of Paragraphs 1

through 25 of this Complaint as if each were fully set forth herein in their entirety.

       27.    On or about August 17, 2019, Operator owed Gail and others a duty to

behave reasonably and avoid causing harm to others.

       28.    On August 17, 2019, contrary to the duty of reasonable care owed,

Operator was negligent in one or more of the following ways, inter alia:

                     a. Shoved the bench seat and cage for the Sky Ride under Gail;

                     b. Improperly attempted to load Gail into the Sky Ride; and/or

                     c. Behaved otherwise differently than a reasonably prudent

                        person would have under the same or similar circumstances.

       29.    As a direct and proximate result of Operator’s negligence, Gail was

thrown forward and injured herself.



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       30.    As a direct and proximate result of the foregoing and the conduct of

Operator, Gail was physically injured, suffered a traumatic brain injury, spine injury,

emotional distress and sustained other permanent and severe personal injuries;

incurred and will incur hospital, diagnostic, surgical, therapeutic, pharmaceutical, and

other medical expenses; suffered and will suffer physical pain, mental suffering, terror,

fright, loss of enjoyment of life, and permanent impairment; and incurred other injuries

and damages of a personal and pecuniary nature.

       WHEREFORE, Plaintiff, GAIL LEWIS-HICKS, seeks the entry of judgment in her

favor and against Defendant, UNKNOWN OPERATOR, for compensatory damages in

an amount to be determined herein, prejudgment interest, for the cost of this action, and

for any and all other relief that the Court and Jury may deem proper under the

circumstances.

                                        COUNT III

                               Respondeat Superior - Apex

       31.    Plaintiff incorporates herein by reference the allegations of Paragraphs 1

through 30 of this Complaint as if each were fully set forth herein in their entirety.

       32.    At all times material, Unknown Operator was acting within the course

and scope of his employment or agency with Defendant Apex and was furthering the

business interests of Apex.



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      33.    Defendant Apex is liable under the doctrine of respondeat superior and the

rules of agency for the tortious acts and omissions of its agents, employees, members,

representatives, servants or contractors pursuant to applicable law. These acts and

omissions include, but are not limited to, the acts and omissions committed by Operator

on August 17, 2019, which are described above and were committed within the course

and scope of his agency or employment with Apex.

      34.    As a direct and proximate result of the foregoing and the conduct of

Operator, Gail was physically injured, suffered a traumatic brain injury, spine injury,

emotional distress and sustained other permanent and severe personal injuries;

incurred and will incur hospital, diagnostic, surgical, therapeutic, pharmaceutical, and

other medical expenses; suffered and will suffer physical pain, mental suffering, terror,

fright, loss of enjoyment of life, and permanent impairment; and incurred other injuries

and damages of a personal and pecuniary nature.

      WHEREFORE, Plaintiff, GAIL LEWIS-HICKS, seeks the entry of judgment in her

favor and against Defendant, APEX PARKS GROUP, LLC, for compensatory damages

in an amount to be determined herein, prejudgment interest, for the cost of this action,

and for any and all other relief that the Court and Jury may deem proper under the

circumstances.




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                                        COUNT IV

                                    Negligence - Apex

       35.    Plaintiff incorporates herein by reference the allegations of Paragraphs 1

through 34 of this Complaint as if each were fully set forth herein in their entirety.

       36.    On or about August 17, 2019, Apex owed Gail and others a duty as an

owner or occupier or manager of Indiana Beach to exercise ordinary care to see that the

park was reasonably safe for the use of those lawfully at Indiana Beach.

       37.    Contrary to the duty of care owed, Apex failed to discovery or remedy the

manner in which Operator was loading invitees onto the Sky Ride.

       38.    Additionally, as an employer or principal, Defendant Apex is also

independently negligent in the hiring, qualifying, training, entrusting, supervising, and

retaining Defendant Operator in connection with his operation of the Sky Ride and for

otherwise failing to act as a reasonable and prudent employer would under the same or

similar circumstances.

       39.    As an employer, Defendant MGM had certain duties and responsibilities

as defined by Indiana law and industry standards including the duty to properly

qualify Defendant Operator, the duty to properly train Defendant Operator and the

duty to otherwise establish and implement necessary management controls and

systems for the safe operation of the Sky Ride in connection with its business for profit.



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        40.   Defendant Apex was independently negligent in failing to meet its duties

and responsibilities.

        41.   Apex was also negligent in the maintenance and/or design of the Sky

Ride, or in the adoption of policies and procedures for loading passengers into the Sky

Ride.

        42.   As a direct and proximate result of the foregoing, Gail was physically

injured, suffered a traumatic brain injury, spine injury, emotional distress and sustained

other permanent and severe personal injuries; incurred and will incur hospital,

diagnostic, surgical, therapeutic, pharmaceutical, and other medical expenses; suffered

and will suffer physical pain, mental suffering, terror, fright, loss of enjoyment of life,

and permanent impairment; and incurred other injuries and damages of a personal and

pecuniary nature.

        WHEREFORE, Plaintiff, GAIL LEWIS-HICKS, seeks the entry of judgment in her

favor and against Defendants, APEX PARKS GROUP, LLC, for compensatory damages

in an amount to be determined herein, prejudgment interest, for the cost of this action,

and for any and all other relief that the Court and Jury may deem proper under the

circumstances.




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                                         Respectfully submitted,



                                         /s/ Scott Seville_____________
                                         Scott Seville (IN 36075-45)
                                         Brian Custy (IN 26329-64)
                                         CUSTY LAW FIRM, LLC
                                         4004 Campbell Street, Suite 4
                                         Valparaiso, Indiana 46385
                                         219-286-7361
                                         scott@custylaw.com




                                      JURY DEMAND

      Comes now the Plaintiff Gail Lewis-Hicks, by CUSTY LAW FIRM, LLC, who

respectfully demands trial by jury.

                                                Respectfully submitted,



                                                /s/ Scott Seville_____________
                                                Scott Seville (IN 36075-45)
                                                Brian Custy (IN 26329-64)
                                                CUSTY LAW FIRM, LLC
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